Case 1:20-cv-02585-LTB-GPG Document 27 Filed 01/19/21 USDC Colorado Page 1 of 11




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-02585-GPG

  KENNETH GLAD,

         Petitioner,

  v.

  BILL ELDER, in his official capacity as EL PASO COUNTY SHERIFF,

         Respondent.


       REPLY TO DISTRICT ATTORNEY FOR THE FOURTH JUDICIAL DISTRICT’S
         RESPONSE TO MOTION FOR TEMPORARY RESTRAINING ORDER AND
                    PETITION FOR WRIT OF HABEAS CORPUS



         The District Attorney for the Fourth Judicial District provides no persuasive reason why

  Kenneth Glad is not entitled to habeas corpus and emergency relief because he is detained on the

  basis of a state-court proceeding that did not provide him with adequate procedural protections

  afforded by the U.S. Constitution. The District Attorney’s brief makes, in essence, only two

  arguments. First, the District Attorney argues that this Court is required to abstain from considering

  Mr. Glad’s case under Younger v. Harris. The District Attorney’s argument mirrors the one made

  previously by Respondent Bill Elder, and for the reasons Mr. Glad already explained in detail in

  his reply to the Respondent, abstention is unwarranted here.

         Second, the District Attorney argues that Mr. Glad received a constitutionally compliant

  hearing because the state court said several times that it was concerned about “public safety.” But

  that is not what the Due Process Clause requires. The District Attorney does not challenge the

  litany of cases recognizing that due process requires that a court make findings on the record as to

  why a defendant presents a risk to public safety, that the court must cite the evidence it relies on
Case 1:20-cv-02585-LTB-GPG Document 27 Filed 01/19/21 USDC Colorado Page 2 of 11




  and apply the clear and convincing evidence standard, and that the court find—also by clear and

  convincing evidence—that no alternative short of a de facto order of detention will adequately

  protect the public’s safety. Nor does the District Attorney suggest that the bond court provided

  these required constitutional protections to Mr. Glad. That is because the transcript of the bond

  hearing demonstrates that the state court made none of these required findings. That ends the

  analysis this Court must make—constitutionally required procedures were not followed, and Mr.

  Glad is entitled to a new hearing before the state court where these procedures are provided. While

  the District Attorney raises a host of other arguments, none detract from that simple,

  straightforward conclusion. Mr. Glad’s petition thus must be granted.

  I.     Younger Abstention Is Unwarranted

         The District Attorney first argues that this Court should abstain from considering Mr.

  Glad’s petition pursuant to Younger v. Harris, 401 U.S. 37 (1971). DA Br., Dkt. No. 25, at 5.

  Because Mr. Glad has already explained at length why Younger abstention is unwarranted in this

  case, he largely relies on and incorporates by reference his brief in reply to Respondent. Reply Br.,

  Dkt. No. 20, at 2–8. Mr. Glad will only respond to the new arguments raised by the District

  Attorney.

         The District Attorney appears to argue that Younger abstention is warranted because “at

  least two out of the three requirements for abstention under Younger have been met in this case.”

  DA Br. at 6; see also id. (conceding that Mr. Glad’s bond proceedings “have cease[d]” and further

  conceding “that such an argument could be made that the first Younger requirement has not been

  met”). But that is not how the Younger test works. Abstention is only proper if all three of the

  Younger criteria are met. See Chapman v. Oklahoma, 472 F.3d 747, 749 (10th Cir. 2006) (“Once

  these three conditions are met, Younger abstention is non-discretionary and, absent extraordinary




                                                   2
Case 1:20-cv-02585-LTB-GPG Document 27 Filed 01/19/21 USDC Colorado Page 3 of 11




  circumstances, a district court is required to abstain.” (emphasis added) (citation omitted)). And as

  Mr. Glad has explained (and the District Attorney does not meaningfully dispute), the three criteria

  are not met in this case. Reply Br. at 3–6. Because the Younger criteria are not met, abstention is

  inappropriate.

         The District Attorney next argues that Mr. Glad’s case does not fit within the irreparable

  injury exception to Younger abstention. DA Br. at 7. Of course, if the Younger criteria are not met

  in the first instance, which the District Attorney concedes is this case, then Mr. Glad does not need

  to fit into any exception to Younger. But Mr. Glad’s case does indeed fit squarely within the

  irreparable injury exception. Reply Br. at 6–8. Specifically, because Mr. Glad cannot vindicate his

  constitutional right to a due-process-compliant bond hearing at his criminal trial or after his trial,

  he must be allowed to vindicate that right now. See id.

         The District Attorney does not explain why that straightforward reasoning does not apply.

  Instead, it attempts to distinguish the cases on which Mr. Glad relies. First, the District Attorney

  points out that the Tenth Circuit’s decisions in Winn and Walck concerned violations of the Double

  Jeopardy Clause. DA Br. at 8. That is true. But nothing in Winn or Walck suggests that the

  reasoning of those cases was limited to violations of the Double Jeopardy Clause. Quite the

  contrary: as Mr. Glad has already pointed out, the Supreme Court has treated double-jeopardy

  cases and bail cases the same in holding them collateral orders—that is, that they may be

  immediately appealed because, if not, any relief will be ineffective. Reply Br. at 7–8 (citing Abney

  v. United States, 431 U.S. 651 (1977), and Stack v. Boyle, 342 U.S. 1 (1951)); see also Walck v.

  Edmondson, 472 F.3d 1227, 1233–34 (10th Cir. 2007) (relying on Abney to conclude that an

  exception to Younger applied). That same reasoning compels the conclusion that Mr. Glad’s

  challenge to his bail hearing, like the double-jeopardy claims in Winn and Walck, constitute




                                                    3
Case 1:20-cv-02585-LTB-GPG Document 27 Filed 01/19/21 USDC Colorado Page 4 of 11




  irreparable injuries that are excepted from Younger abstention. In fact, the Ninth Circuit has

  reached this exact conclusion and held that a constitutional challenge to pretrial bail is exempt

  from Younger abstention because it constitutes an irreparable injury. See Arevalo v. Hennessy, 882

  F.3d 763, 766–67 & n.3 (9th Cir. 2018). The District Attorney does not dispute the Ninth Circuit’s

  conclusion that a constitutional challenge to pretrial bail constitutes an irreparable injury excepted

  from Younger. Instead, it only argues that Arevalo is distinguishable from Mr. Glad’s case because,

  in the District Attorney’s estimation, Arevalo had a meritorious constitutional challenge and Mr.

  Glad does not. DA Br. at 9. But Younger abstention does not turn on resolving the merits of the

  underlying case. To the contrary, the Tenth Circuit has recognized that “a threat to an individual’s

  federally protected rights constitutes irreparable injury” that warrants immediate federal

  intervention to determine whether the underlying claim is meritorious. Walck, 472 F.3d at 1234

  (emphasis added); see also Arevalo, 882 F.3d at 766 (describing an exception to Younger when

  “the danger of irreparable loss is both great and immediate” (emphasis added) (citation omitted)).

  If a federal court had to decide the merits of a case before deciding whether to abstain, it would

  render the doctrine of abstention irrelevant and require federal courts to opine on the merits of a

  constitutional challenge to state proceedings any time the irreparable injury exception was raised.

  That is not the law.

         There is no basis to abstain from hearing Mr. Glad’s case.

  II.    Mr. Glad Is Entitled to Habeas Relief

         A. Due Process Requires Courts to Make Findings on the Record by Clear and
            Convincing Evidence

         The District Attorney quotes out-of-context dicta from a decision of another court in this

  district and uses it to urge this Court to conclude that the clear and convincing evidence standard

  should not apply to bond decisions. DA Br. at 10–11 (quoting Elliott v. Brown, 2020 WL 2112363,



                                                    4
Case 1:20-cv-02585-LTB-GPG Document 27 Filed 01/19/21 USDC Colorado Page 5 of 11




  at *10 n.2 (D. Colo. May 4, 2020)). The District Attorney does not explain what standard should

  otherwise apply, provide case law supporting that standard, or explain why Mr. Glad’s state-court

  hearing was sufficient under that standard. In Elliott, the district court never reached the merits of

  the petitioner’s claim, but in a footnote it questioned whether the clear and convincing evidence

  standard should apply when a court determines that a criminal defendant is a flight risk. 2020 WL

  2112363, at *10 n.2. The court noted that under the Bail Reform Act of 1984, which was at issue

  in Salerno, the government was statutorily required to prove dangerousness by clear and

  convincing evidence but could prove a risk of flight by a preponderance of the evidence. Id.

  However, only the dangerousness provision of the Act was at issue in Salerno.1 The district court

  then concluded that there was sufficient evidence before the state court under either evidentiary

  standard to conclude that the petitioner was a flight risk and set unaffordable bond. See id.

          The proper evidentiary standard for a risk of flight, however, is not before the Court in this

  case. The only reasoning that the state court provided when setting unaffordable money bail for

  Mr. Glad was that he presented a “public safety risk.” Hearing Tr., Dkt. No. 1-4, at 11:21–24. And

  it is well settled, and not disputed by the quoted text offered by the District Attorney, that the clear



  1
    To the extent that the district court in Elliott can be seen as reaching a conclusion that the
  preponderance of evidence standard applies to proving risk of flight, that conclusion is incorrect.
  The Supreme Court did not have occasion in Salerno, and has not had occasion since, to rule on
  the constitutionality of requiring only a preponderance of evidence in deeming someone a flight
  risk and depriving them of their fundamental right to bodily liberty. And the reasoning of
  Salerno calls the preponderance-of-the-evidence standard into serious question. As has the
  reasoning in other Supreme Court and Circuit Court cases. See Opening Br., Dkt. No. 3, at 18–20
  & nn.5–6 (collecting cases concluding that the same evidence standard should apply to both
  findings of risk of flight and risk of public safety and explaining how this conclusion is
  compelled by the Supreme Court’s decisions in Santosky, Addington, and Foucha); see also
  Valdez-Jimenez v. Eighth Judicial Dist., 460 P.3d 976, 987 (Nev. 2020) (holding that clear and
  convincing evidence applies to both flight risk and public-safety determinations). However,
  because there was no suggestion in this case that the state court considered Mr. Glad a flight risk
  (and evidence to the contrary was put before the state court judge), this Court does not have that
  issue before it.


                                                     5
Case 1:20-cv-02585-LTB-GPG Document 27 Filed 01/19/21 USDC Colorado Page 6 of 11




  and convincing evidence standard must apply to findings of dangerousness. Opening Br., Dkt. No.

  3, at 14–20; Reply at 9. Indeed, the Supreme Court has applied at least the clear and convincing

  evidence standard before an individual may be deprived of bodily liberty in a string of cases dating

  back to 1979. Opening Br. at 15–17 (collecting cases). And a host of state high courts, federal

  courts of appeals, and federal district courts have agreed that the clear and convincing evidence

  standard applies when the government seeks pretrial detention. Opening Br. at 17–18 & n.4.

         B. Mr. Glad’s Bond Hearing Was Constitutionally Deficient

         The District Attorney argues that Mr. Glad received a due-process-compliant bond hearing

  because the judge repeatedly stated that the case presented public safety concerns. DA Br. at 11–

  12. These statements fall short of what the Constitution requires in several ways.

         First, the bond judge did not articulate the evidentiary standard that she was relying on or

  explain how each of her findings was supported by clear and convincing evidence in the record.

  By failing to do so, she created an insufficient record that does not allow Mr. Glad to know why

  he is being detained or allow a reviewing court to properly consider the bond court’s reasoning

  and the sufficiency of the evidence on which it relied. This alone warrants granting Mr. Glad’s

  petition and requiring the state court to make proper findings under the proper standard in the first

  instance.

         Second, even if this Court were to accept the District Attorney’s argument that the bond

  court made a sufficient finding that Mr. Glad posed a risk to public safety, it is beyond dispute that

  the bond court failed to conduct the second step of the constitutional analysis. Specifically, the

  bond court was required to find by clear and convincing evidence that de facto detention was the

  least restrictive means for ensuring public safety by explicitly considering alternatives to

  unaffordable money bail for Mr. Glad and whether those conditions would sufficiently protect the




                                                    6
Case 1:20-cv-02585-LTB-GPG Document 27 Filed 01/19/21 USDC Colorado Page 7 of 11




  community. Due process requires that an individual’s liberty interest “be abridged only to the

  degree necessary to serve a compelling governmental interest.” In re Humphrey, 228 Cal. Rptr. 3d

  513, 528 (Ct. App. 2018); see also Opening Br. at 14 & n.3, 17–20 (collecting cases). Here, the

  state judge failed to consider alternatives that would have worked a lesser restriction on Mr. Glad’s

  liberty. That failure is particularly glaring because Mr. Glad’s counsel repeatedly requested that

  he be subjected to a lesser bond, along with ankle monitoring and home confinement. Hearing Tr.

  at 10:24–11:07. The court did not provide any explanation of why these less restrictive alternatives

  were insufficient on the record in violation of due process requirements.2 See Goldberg v. Kelly,

  397 U.S. 254, 271 (1970) (holding that a decisionmaker must “state the reasons for his

  determination and indicate the evidence he relied on” on the record). This alone would warrant

  granting Mr. Glad’s habeas petition.

         There is no dispute that the state court did not consider these alternatives during Mr. Glad’s

  bond hearing. The only possible way for this Court to conclude that Mr. Glad’s bond hearing was

  constitutionally adequate, then, would be for this Court to step into the role of the state bond judge

  and imagine what the bond court might have done had it properly considered those alternatives.

  But that is not this Court’s role, and doing so would violate principles of federalism and comity.

  See, e.g., Rhines v. Weber, 544 U.S. 269, 273 (2005) (“[T]he interests of comity and federalism

  dictate that state courts must have the first opportunity to decide a petitioner’s claims.”).




  2
   The obligation to consider less restrictive alternatives and make findings why those alternatives
  are insufficient in a particular case is one that applies to all federal judges considering whether to
  detain a federal defendant pre-trial, and judges within this district provide oral or written findings
  on this issue as a matter of course.


                                                    7
Case 1:20-cv-02585-LTB-GPG Document 27 Filed 01/19/21 USDC Colorado Page 8 of 11




  III.   Mr. Glad Is Entitled to Temporary Relief

         The District Attorney makes three arguments in opposition to Mr. Glad’s motion for

  temporary relief. All are without merit. The District Attorney first states, without explanation, that

  Mr. Glad has only made “suppositions regarding the likelihood of his success” on his constitutional

  claim. DA Br. at 13. Mr. Glad’s explanation of his constitutional claims in his opening brief, as

  well as his further explanation above, makes clear that Mr. Glad is likely to succeed on the merits

  of his claims.

         The District Attorney next faults Mr. Glad for not “providing evidence” that he will suffer

  irreparable harm absent relief from this Court. DA Br. at 13. But the District Attorney concedes,

  as it must, that an ongoing constitutional violation is itself an irreparable harm that warrants

  emergency relief. Mot. for TRO, Dkt. No. 2, at 2–4 & n.1; Reply Br. at 6–7, 10. And for the reasons

  already explained, Mr. Glad is currently detained in violation of the Constitution because he has

  not been given a due-process-compliant hearing. Nor are Mr. Glad’s ongoing tangible injuries

  purely hypothetical. Extensive evidence demonstrates that individuals detained pretrial are unable

  to fully participate in their own defense and are thus more likely to accept plea deals and abandon

  valid defenses, that such individuals are likely to lose their job, and that they cannot participate in

  their family life in a meaningful way. See Mot. for TRO at 2–4 & n.1 (collecting evidence). Those

  harms are all the more present for Mr. Glad because he is detained in the midst of a pandemic that

  limits ingress and egress from the El Paso County Jail.3 Mr. Glad has even greater obstacles to




  3
    Individuals at the El Paso County Jail are not allowed to receive in-person visits from friends
  and family at this time. And although the Jail is allowing in-person attorney visits to proceed, the
  Colorado Springs Public Defender has issued a moratorium on its attorneys—including Mr.
  Glad’s attorney—meeting in person at the Jail following the massive outbreak of COVID-19 in
  the Jail between October and November of 2020 and the continued discovery of positive cases at
  the Jail.


                                                    8
Case 1:20-cv-02585-LTB-GPG Document 27 Filed 01/19/21 USDC Colorado Page 9 of 11




  participating in his own defense and maintaining family contact than he would if detained at any

  other time. Mr. Glad has already been detained for nearly 11 months. And because his trial date

  has now been extended to May 2021, he faces at least four additional months of continued

  detention in violation of his due process rights.

         Finally, the District Attorney suggests that any harm to Mr. Glad will be outweighed by

  “public safety interests.” DA Br. at 13. But here the District Attorney repeats the error previously

  made by both Respondent and the bond judge in this case of mischaracterizing Mr. Glad’s

  constitutional claim as requiring either a no-hold bond or an affordable money bond. As Mr. Glad

  has repeatedly explained, if this Court issues a temporary restraining order, it would not require

  the state court to release Mr. Glad. To the contrary, Mr. Glad acknowledges that a state court could

  decide to once again set an unattainable amount of bond in his case if he is granted relief by this

  Court. But only after Mr. Glad has received a constitutionally compliant hearing and only after a

  judge has made constitutionally compliant findings on the record. Reply Br. at 5–6, 7 n.1.

         For all of the above reasons, Kenneth Glad is entitled to a writ of habeas corpus pursuant

  to 28 U.S.C. § 2241 and a temporary restraining order entitling him to an immediate,

  constitutionally compliant bond hearing or release.

         Respectfully submitted this 19 day of January, 2021.


                                         /s/ Adam Mueller
                                         Adam Mueller
                                         David Kaplan
                                         Haddon, Morgan and Foreman, P.C.
                                         150 East 10th Avenue
                                         Denver, Colorado 80203
                                         amueller@hmflaw.com
                                         dkaplan@hmflaw.com
                                         (303) 831-7364




                                                      9
Case 1:20-cv-02585-LTB-GPG Document 27 Filed 01/19/21 USDC Colorado Page 10 of 11




                               Alexandria Twinem
                               (DC Bar No. 1644851)
                               Eric Halperin
                               (DC Bar No. 491199)
                               Civil Rights Corps
                               1601 Connecticut Ave. NW, Suite 800
                               Washington, DC 20009
                                eric@civilrightscorps.org
                               alexandria@civilrightscorps.org
                               (202) 670-4809


                               Attorneys for Kenneth Glad




                                        10
Case 1:20-cv-02585-LTB-GPG Document 27 Filed 01/19/21 USDC Colorado Page 11 of 11




                                    Certificate of Service


          I certify that on January 19, 2021, I electronically filed the foregoing Reply to
   District Attorney for the Fourth Judicial District’s Response to Motion for Temporary
   Restraining Order and Petition for Writ of Habeas Corpus with the Clerk of Court using
   the CM/ECF system.




                                               s/ Adam Mueller




                                              11
